                   IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

In Re:                              )
                                    )
AREDIA and ZOMETA PRODUCTS          )              No. 3:06-MD-1760
LIABILITY LITIGATION                )              Judge Campbell
(MDL No. 1760)                      )              Magistrate Judge Brown
                                    )
This Document Relates to: All Cases )


                             PRETRIAL ORDER #1
                       Plaintiff's Counsel Structure


1.     Plaintiffs' Steering Committee.

       The Court hereby appoints the following counsel to be members

of the Plaintiffs' Steering Committee ("PSC"):

Russel H. Beatie, Esq.                  Daniel A. Osborn, Esq.
(Co-Lead Counsel)                       BEATIE AND OSBORN LLP
BEATIE AND OSBORN LLP                   521 Fifth Avenue, Suite 3400
521 Fifth Avenue, Suite 3400            New York, New York 10175
New York, New York 10175

F. Dulin Kelly, Esq.                    Robert G. Germany, Esq.
(Co-Lead Counsel)                       PITTMAN, GERMANY, ROBERTS &
KELLY, KELLY & ALLMAN                    WELSH, L.L.P.
629 East Main Street                    410 South President Street
Hendersonville, Tennessee               Jackson, Mississippi 39225
37075
Bart T. Valad, Esq.                     John Vecchione, Esq.
(Co-Lead Counsel)                       THE LAW FIRM OF
THE LAW FIRM OF                          BART T. VALAD, PLLC
 BART T. VALAD, PLLC                    3863 Plaza Drive
3863 Plaza Drive                        Fairfax, Virginia 22030
Fairfax, Virginia 22030




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  The PSC will have the following responsibilities:
  Discovery

  1.    initiate, coordinate, and conduct all pretrial discovery
        on behalf of plaintiffs in all actions which are
        consolidated with the instant multidistrict litigation;

  2.    develop and propose to the Court schedules for the
        commencement, execution, and completion of all discovery
        on behalf of all plaintiffs;

  3.    cause to be issued in the name of all plaintiffs the
        necessary discovery requests, motions, and subpoenas
        pertaining to any witnesses and documents needed to
        properly prepare for the pretrial of relevant issues
        found in the pleadings of this litigation.        Similar
        requests, notices, and subpoenas may be caused to be
        issued by the PSC upon written request by an individual
        attorney in order to assist him/her in the preparation of
        the pretrial stages of his/her client's particular
        claims;

  4.    conduct all discovery in a coordinated and consolidated
        manner on behalf and for the benefit of all plaintiffs;
  Hearing and Meetings

  1.    call meetings of counsel for plaintiffs for any
        appropriate purpose, including coordinating responses to
        questions of other parties or of the Court. Initiate
        proposals, suggestions, schedules, or joint briefs, and
        any other appropriate matter(s) pertaining to pretrial
        proceedings;

  2.    examine witnesses and introduce evidence at hearings on
        behalf of plaintiffs;

  3.    act as spokesperson for all plaintiffs at pretrial
        proceedings and in response to any inquiries by the
        Court, subject of course to the right of any plaintiff's
        counsel to present non-repetitive individual or different
        positions;
  Miscellaneous

  1.    submit and argue any verbal or written motions presented
        to the Court or Magistrate Judge on behalf of the PSC as
        well as oppose when necessary any motions submitted by
        the defendant or other parties which involve matters
        within the sphere of the responsibilities of the PSC;

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     2.   negotiate and enter into stipulations with Defendants
          regarding this litigation. All stipulations entered into
          by the PSC, except for strictly administrative details
          such as scheduling, must be submitted for Court approval
          and will not be binding until the Court has ratified the
          stipulation. Any attorney not in agreement with a non-
          administrative stipulation shall file with the Court a
          written objection thereto within five (5) days after
          he/she knows or should have reasonably become aware of
          the stipulation.    Failure to object within the term
          allowed shall be deemed a waiver and the stipulation will
          automatically be binding on that party;

     3.   explore, develop, and pursue all settlement options
          pertaining to any claim or portion thereof of any case
          filed in this litigation;

     4.   maintain adequate files of all pretrial matters,
          including establishing and maintaining a document or
          exhibit depository, in either real or virtual format, and
          having those documents available, under reasonable terms
          and conditions, for examination by all MDL Plaintiffs or
          their attorneys;

     5.   perform any task necessary and proper for the PSC to
          accomplish its responsibilities as defined by the Court's
          orders, including organizing sub-committees comprised of
          plaintiffs' attorneys not on the PSC and assigning them
          tasks consistent with the duties of the PSC; and

     6.   perform any other functions that may be                expressly
          authorized by further orders of this Court.

     Additionally, the Court appoints Co-Lead Counsel, Russel H.

Beatie, F. Dulin Kelly and Bart T. Valad, to comprise the PSC

Executive Committee.    The Executive Committee shall coordinate the

responsibilities of the PSC, schedule PSC meetings, keep minutes or

transcripts of these meetings, appear at periodic court noticed

status conferences, perform other necessary administrative or

logistic functions of the PSC and carry out any other duty the

Court may order.    The Executive Committee shall attempt to reach

unanimous decisions but may act by a majority vote.          In the event

that a decision of the Executive Committee is reached by a majority

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vote, each Executive Committee member retains the right to bring

the disagreement to the attention of the Court or to present an

alternative position to the Court.

       The appointment to the PSC is personal.                      Accordingly, the

appointees cannot substitute other attorneys, including members of

the appointee's law firm, to perform the PSC's exclusive functions,

such as committee meetings and court appearances, except with prior

approval of the Court.

2.     Plaintiffs' Liaison Counsel.

       The Court hereby appoints the following counsel as Plaintiffs'

Liaison Counsel:

       C. Patrick Flynn, Esq.
       FLYNN AND RADFORD ATTORNEYS, P.C.
       Seven Springs I, Suite 150
       320 Seven Springs Way
       Brentwood, Tennessee 37207

       Plaintiffs'     Liaison     Counsel          will     have    the     following

responsibilities:

       1.    Coordinate service and filings;

       2.    Handle    communications      between          the   Court    and    other

             plaintiff's      counsel,         to     the     extent       that    such

             communications are not carried out by the Court's ECF

             system;

       3.    Serve    as   the   "meet    and       confer"       designee   for    the

             plaintiffs as directed by the PSC or one of the Co-Lead

             Counsel on all discovery disputes and other issues which

             may be the subject of motion practice;



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     4.   Establish and maintain a document repository, real or

          virtual, to be available to all plaintiffs counsel;

     5.   Establish and maintain a complete copy of all pleadings

          not electronically filed with the Court, to be available

          to all plaintiff's counsel;

     6.   Establish and enforce procedures to govern access to the

          documents and pleadings identified in subparagraphs 4 and

          5;

     7.   Confer with counsel of any additional cases transferred

          to this Court by the MDL Panel to insure they are in

          agreement with established procedures and are aware of

          the Court’s prior orders.

     8.   Such other duties as the Court may order.

     The appointment as Plaintiffs' Liaison Counsel is personal.

Accordingly, the appointee cannot substitute another attorney,

including a member of the appointee's law firm, to perform the

Plaintiffs' Liaison Counsel's exclusive functions, such as court

appearances, except with prior approval of the Court.

     Plaintiffs'    Liaison   Counsel    shall   be   entitled    to   seek

reimbursement for costs expended at the time and in a manner

approved by the Court.

     All plaintiffs counsel are directed to provide updated contact

information to be used for service to Plaintiffs' Liaison Counsel

within 10 days of receipt of this order.

     The Clerk will send a copy of this order to Mr. Flynn as

Plaintiffs' Liaison Counsel.


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        It is so ORDERED.

                                       /s/ Joe B. Brown
                                       JOE B. BROWN
                                       United States Magistrate Judge




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